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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION

 FORT BELKNAP INDIAN                    Case No. 4:23-CV-00054-BMM
 COMMUNITY PLANNING AND
 DEVELOPMENT CORPORATION
 D/B/A ISLAND MOUNTAIN
 DEVELOPMENT GROUP ("IMDG");
 JEFFREY STIFFARM; GENO
 LEVALDO; DEREK AZURE; BRIAN
 WING; and CURTIS HORN,                             ANSWER

                    Plaintiffs,
 v.

 JENNIFER WEDDLE, and
 GREENBERG TRAURIG LLP,

                    Defendants.




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      Defendants Jennifer Weddle and Greenberg Traurig LLP (collectively

“Defendants”) provide this Answer to the Complaint, Doc. 1, filed by Plaintiffs

Fort Belknap Indian Community Planning and Development Corporation d/b/a

Island Mountain Development Group (“IMDG”), Jeffrey Stiffarm, Geno LeValdo,

Derek Azure, Brian Wing, and Curtis Horn.

      For over a decade, Defendants diligently advised IMDG regarding the

Tribe’s consumer lending businesses. Those efforts included advising IMDG and

IMDG-managed affiliates regarding various agreements with third parties, some of

which extended commercial credit to the consumer lending businesses

(“Lenders”). Pursuant to those agreements, IMDG and the Fort Belknap Indian

Community Council (“FBICC” or “the Council”) repeatedly confirmed to the

Lenders that IMDG’s Board was validly constituted and fully empowered to take

all actions with respect to the consumer lending businesses. In five separate

Council Resolutions that were expressly incorporated into the Lenders’ contracts

between 2018 and 2021, the Council promised not to interfere with the IMDG

Board or any Tribal entity.

      On January 19, 2023, the Council improperly removed the entire IMDG

Board without cause. Shortly thereafter, the Lenders declared an Event of Default,

confirmed that Event of Default in an email from their counsel, and then submitted

a formal Event of Default letter to IMDG and President Stiffarm on January 20,



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2023. The Lenders exercised their rights under the operative agreements, seized

the Collateral, including control of the lending business bank accounts, and

instructed IMDG to observe their obligations under the contracts.

      Allegations concerning an alleged transfer of assets to the Rosebud Sioux

Tribe are untrue. The IMDG Board and executives sought only to preserve Tribal

member employment after the Lenders had already seized the Collateral following

the Event of Default. No temporary transfer of any IMDG asset was ever acted

upon, and confidential consideration of temporary servicing assistance that would

have preserved tribal member employment caused no damage whatsoever.

      The Council is solely responsible for the consequences of its actions, not the

attorneys or the law firm named as Defendants in this lawsuit. No Greenberg

Traurig attorneys were in Montana on January 19 or 20. No Greenberg Traurig

attorneys spoke at any public meetings or posted to any social media about any

matter involving IMDG. The issues set forth in the Complaint reflect an internal

political dispute having nothing to do with Greenberg Traurig’s longtime legal

representation of its clients.

                                 I.   INTRODUCTION

      1.     Defendants deny the allegations stated in Paragraph 1 of the

Complaint.




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      2.    At all times, Defendants acted in the best interests of their clients.

Defendants deny the allegations stated in Paragraph 2 of the Complaint.

      3.    Defendants admit that four members of the Council convened a

Special Meeting on January 19, 2023. Defendants deny the remaining allegations

stated in Paragraph 3 of the Complaint.

      4.    Defendants admit they advised IMDG that the Council’s purported

removal of the entire IMDG Board without cause and President Stiffarm’s

appointment of certain Council members as the “Interim Board” could constitute

an Event of Default under IMDG’s agreements with the Lenders. Defendants

admit that they advised IMDG that the consequences of an Event of Default could

include seizure of IMDG assets and loss of IMDG jobs. Defendants admit that a

large number of IMDG employees attended the Special Meeting in person and by

Zoom. Defendants admit that IMDG’s Board and executive leadership granted

employees administrative leave to be able to engage with their Tribal government.

Defendants lack sufficient information to admit or deny the remaining allegations

stated in Paragraph 4 of the Complaint.

      5.    Defendants admit that Defendant Weddle attended conference calls

between IMDG representatives and the Lenders after the Council’s meeting on

January 19, 2023. Defendants deny the remaining allegations stated in Paragraph 5

of the Complaint.



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      6.     Defendants admit that the Lenders issued a Notice of Default letter on

January 20, 2023. Defendants deny the remaining allegations stated in Paragraph 6

of the Complaint.

      7.     Defendants admit that the Lenders issued a notice of default letter on

January 20, 2023. Defendants lack sufficient information to admit or deny the

remaining allegations stated in Paragraph 7 of the Complaint.

      8.     Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 8 of the Complaint.

      9.     Defendants deny the allegations stated in Paragraph 9 of the

Complaint.

      10.    Defendants deny the allegations stated in Paragraph 10 of the

Complaint.

      11.    Defendants deny the allegations stated in Paragraph 11 of the

Complaint.

      12.    Defendants deny the allegations stated in Paragraph 12 of the

Complaint.

                      II.   JURISDICTION AND VENUE

      13.    Defendants admit that the amount in controversy exceeds the sum or

value of $75,000, exclusive of interest and costs, and that the dispute is between




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citizens of different states. Defendants deny the remaining allegations stated in

Paragraph 13 of the Complaint.

      14.    Defendants admit that this Court has personal jurisdiction over the

Defendants as alleged in Paragraph 14 of the Complaint. Defendants deny the

referenced bank accounts are located in Montana.

      15.    Defendants admit that venue is proper in this District. Defendants

deny the remaining allegations stated in Paragraph 15 of the Complaint.

      16.    Defendants admit that assignment to this District is appropriate.

Defendants deny the remaining allegations stated in Paragraph 16 of the

Complaint.

                                 III.   PARTIES

                                  Plaintiff IMDG

      17.    Defendants admit the allegations stated in Paragraph 17 of the

Complaint.

      18.    Defendants admit the allegations stated in Paragraph 18 of the

Complaint.

      19.    Defendants admit that IMDG manages several businesses, including

several businesses which operate short-term, small dollar installment-based

consumer lending portfolios, and that IMDG is bound to operate in compliance

with its governing documents and the terms of the agreements it has with third



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parties. Defendants deny the remaining allegations stated in Paragraph 19 of the

Complaint.

      20.    Defendants admit that IMDG’s principal place of business is in Hays,

Montana, located within the exterior boundaries of the Fort Belknap Indian

Reservation and that IMDG is incorporated under the laws of the Tribe. IMDG is

governed by corporate documents that speak for themselves. Defendants deny that

IMDG is registered with the Montana Secretary of State as a corporation formed in

the State of Montana. Defendants deny the remaining allegations stated in

Paragraph 20 of the Complaint.

      21.    Defendants admit that GVA Holdings, LLC (“GVA Holdings”) is a

holding company and that the Tribe is the sole member of GVA Holdings.

Defendants admit that GVA Holdings’ wholly owned subsidiaries conduct short-

term, small-dollar installment-based lending portfolios.

                            Plaintiff Jeffrey Stiffarm

      22.    On information and belief, Defendants admit that Plaintiff Stiffarm

was elected President of the Council following elections held in November 2021.

On information and belief, Defendants admit that Plaintiff Stiffarm has been a

member of the Council since 2016, and that he was a member of the Council

between 2018 and 2021. On information and belief, Defendants admit that Plaintiff

Jeffrey Stiffarm is an enrolled member of the Gros Ventre (Aaniiih) Tribe, is the



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current President of the Council, and is a resident of the Fort Belknap Indian

Reservation. Defendants deny the remaining allegations in Paragraph 22 of the

Complaint.

      23.    Defendants admit the allegations stated in Paragraph 23 of the

Complaint.

      24.    Defendants admit the allegation in Paragraph 24 of the Complaint that

Plaintiff Stiffarm has served in different capacities on the Council. Defendants lack

sufficient knowledge to admit or deny the remaining allegations stated in

Paragraph 24 of the Complaint.

      25.    Defendants lack sufficient knowledge to admit or deny the allegations

stated in Paragraph 25 of the Complaint.

      26.    Defendants lack sufficient knowledge to admit or deny the allegations

stated in Paragraph 26 of the Complaint.

                             Plaintiff Geno LeValdo

      27.    On information and belief, Defendants admit that Plaintiff LeValdo is

an enrolled member of the Gros Ventre (Aaniiih) Tribe, was elected to the Council

in November 2021, and is a resident of the Fort Belknap Indian Reservation.

Defendants deny the remaining allegations stated in Paragraph 27 of the

Complaint.




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      28.    Upon information and belief, Defendants admit that Plaintiff LeValdo

has worked for many years as a Fort Belknap Juvenile Probation officer and that he

has coached varsity basketball at Harlem and Hays Lodgepole.

      29.    Defendants lack sufficient knowledge to admit or deny the allegations

stated in Paragraph 29 of the Complaint.

      30.    Defendants lack sufficient knowledge to admit or deny the allegations

stated in Paragraph 30 of the Complaint.

                              Plaintiff Derek Azure

      31.    On information and belief, Defendants admit that Plaintiff Azure is an

enrolled member of the Assiniboine (Nakoda) Tribe and a member of the Council.

Defendants deny the remaining allegations stated in Paragraph 31 of the

Complaint.

      32.    Defendants lack sufficient knowledge to admit or deny the allegations

stated in Paragraph 32 of the Complaint.

                              Plaintiff Brian Wing

      33.    On information and belief, Defendants admit that Plaintiff Wing is an

enrolled member of the Assiniboine (Nakoda) Tribe, a member of the Council, and

a resident of the Fort Belknap Indian Reservation. Defendants deny the remaining

allegations stated in Paragraph 33 of the Complaint.




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      34.    Defendants lack sufficient knowledge to admit or deny the allegations

stated in Paragraph 34 of the Complaint.

      35.    Defendants lack sufficient knowledge to admit or deny the allegations

stated in Paragraph 35 of the Complaint.

                               Plaintiff Curtis Horn

      36.    On information and belief, Defendants admit that Plaintiff Curtis Horn

is an enrolled member of the Assiniboine (Nakoda) Tribe and a member of the

Council. Defendants deny the remaining allegations stated in Paragraph 36 of the

Complaint.

      37.    Defendants lack sufficient knowledge to admit or deny the allegations

stated in Paragraph 37 of the Complaint.

      38.    On information and belief, Defendants admit the allegations stated in

Paragraph 38 of the Complaint.

                                     Defendants

      39.    Defendants admit that they are former legal counsel to IMDG.

Defendants deny the remaining allegations stated in Paragraph 39 of the

Complaint.

                           Defendant Jennifer Weddle

      40.    Defendants admit that Defendant Weddle is an individual and a

resident of the State of Colorado.



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      41.   Defendants admit that Defendant Weddle is a shareholder of

Defendant Greenberg Traurig LLP in the Denver, Colorado office of the law firm.

      42.   Defendants admit that they served as legal counsel for IMDG and

represented IMDG for approximately thirteen years until Plaintiff LeValdo

terminated that representation by letter on February 10, 2023. Defendants deny the

remaining allegations stated in Paragraph 42 of the Complaint.

      43.   Defendants admit that Defendant Weddle acted within the scope of

her duties as Greenberg Traurig shareholder and lawyer while representing IMDG.

      44.   Defendants admit that Defendant Weddle transacted business within

the State of Montana.

      45.   Defendants admit that Defendant Weddle represented IMDG for

approximately thirteen years until Plaintiff LeValdo terminated that representation

by letter on February 10, 2023.

                        Defendant Greenberg Traurig LLP

      46.   Defendants admit that Greenberg Traurig LLP is a limited liability

partnership organized under the laws of the state of New York. Defendants deny

the remaining allegations stated in Paragraph 46 of the Complaint.

      47.   Defendants admit that Defendant Weddle is a shareholder of

Greenberg Traurig LLP and that she is currently the co-chair of the law firm’s

American Indian Law Practice group.



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      48.    Defendants admit that Greenberg Traurig entered into certain

contractual agreements with IMDG for legal services and provided legal services

on behalf of IMDG for approximately thirteen years until Plaintiff LeValdo

terminated that representation on February 10, 2023. Defendants deny the

remaining allegations stated in Paragraph 48 of the Complaint.

                 IV.    FACTS COMMON TO ALL COUNTS

      49.    Defendants admit that IMDG and certain IMDG affiliates are parties

to certain agreements with the Lenders.

Defendants did not undermine the Council’s authority, and acted at all times
                 to preserve and protect IMDG interests.
      50.    Defendants deny the allegations stated in Paragraph 50 of the

Complaint.

      51.    Defendants deny the allegations stated in Paragraph 51 of the

Complaint.

      52.    On information and belief, Defendants admit that IMDG employees

attended the January 19, 2023 special meeting in person and via Zoom. Defendants

lack sufficient knowledge to admit or deny the remaining allegations in Paragraph

52 of the Complaint.

      53.    Defendants deny the allegations stated in Paragraph 53 of the

Complaint.




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      54.    Defendants deny the allegations stated in Paragraph 54 of the

Complaint.

      55.    Defendants deny the allegations stated in Paragraph 55 of the

Complaint.

      56.    Defendants deny the allegations stated in Paragraph 56 of the

Complaint. Plaintiffs have misled this Court by providing an out of context screen

shot of Defendant Weddle’s text messages. The referenced communication

includes the following complete exchange and reflect Defendant Weddle’s green

“thumbs up” to confirmation that employees had been told to go back to work:




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                       Events Leading up to the Special Meeting

      57.    Defendants deny the allegations stated in Paragraph 57 of the

Complaint.

      58.    Defendants deny the allegations stated in Paragraph 58 of the

Complaint.

      59.    Defendants deny the allegations stated in Paragraph 59 of the

Complaint.

      60.    Defendants admit that Plaintiff Stiffarm communicated with then-

IMDG CEO Terry Brockie and the Prior Board in 2022. Defendants deny the

remaining allegations stated in Paragraph 60 of the Complaint.

      61.    Defendants admit that Plaintiff Stiffarm sent a letter to Mr. Brockie

dated February 1, 2022. Plaintiff Stiffarm’s February 1, 2022 letter to Mr. Brockie

and the IMDG governing documents speak for themselves. Defendants deny the

remaining allegations stated in Paragraph 61 of the Complaint.

      62.    Defendants admit that the IMDG Board (including Plaintiff Horn’s

spouse) responded to Plaintiff Stiffarm’s February 1, 2022 letter by a letter dated

February 3, 2022, and that IMDG did not provide Plaintiff Stiffarm with the

position and salary of every IMDG employee. Defendants admit a true and correct

copy of Plaintiff Stiffarm’s letter to Mr. Brockie is attached to the Complaint as

Exhibit A. Defendants admit a true and correct copy of IMDG’s February 3, 2022



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letter to Plaintiff Stiffarm is attached to the Complaint as Exhibit B. Defendants

deny the remaining allegations stated in Paragraph 62 of the Complaint.

      63.    Defendants deny the allegations stated in Paragraph 63 of the

Complaint.

      64.    Defendants admit that a true and accurate copy of a letter sent to Mr.

Brockie by President Stiffarm dated April 7, 2022, is attached as Exhibit C to the

Complaint. Defendants deny the remaining allegations in Paragraph 64 of the

Complaint.

      65.    The letters referenced in Paragraph 65 of the Complaint speak for

themselves. Defendants deny the remaining allegations in Paragraph 65 of the

Complaint.

      66.    Defendants admit that a true and correct copy of Plaintiff Stiffarm’s

July 27, 2022 letter to Mr. Brockie and the Prior Board is attached to the

Complaint as Exhibit D. Plaintiff Stiffarm’s July 27, 2022 letter speaks for itself.

Defendants deny the remaining allegations stated in Paragraph 66 of the

Complaint.

      67.    Defendants admit that Mr. Brockie responded to Plaintiff Stiffarm’s

July 27, 2022 letter on August 19, 2022. Mr. Brockie’s thorough response speaks

for itself. Defendants deny the remaining allegations stated in Paragraph 67 of the

Complaint.



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      68.    Defendants deny the allegations stated in Paragraph 68 of the

Complaint.

      69.    Defendants deny the allegations stated in Paragraph 69 of the

Complaint.

              Defendants did not interfere with IMDG operations
                       or trigger an Event of Default.

      70.    Defendants deny that they interfered with IMDG operations or

triggered an Event of Default. The Lenders informed CEO Terry Brockie of the

Event of Default via telephone on January 19, 2023. On January 20, 2023, the

Lenders’ counsel emailed a Notice of Event of Default to IMDG attached as

Exhibit 1. Counsel for the Lenders then sent a follow up letter confirming the

Event of Default attached as Exhibit 2. Defendants deny the remaining allegations

stated in Paragraph 70 of the Complaint.

      71.    The Default Notice speaks for itself. Defendants deny the remaining

allegations stated in Paragraph 71 of the Complaint.

      72.    Defendants deny the allegations stated in Paragraph 72 of the

Complaint.

      73.    Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 73 of the Complaint.

      74.    Defendants deny the allegations stated in Paragraph 74 of the

Complaint.


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      75.     Defendants deny the allegations stated in Paragraph 75 of the

Complaint.

            Defendant Weddle followed her client IMDG’s instructions.

      76.     Defendants deny that they refused to comply with their legitimate

client’s instructions. Defendants admit the remaining allegations stated in

Paragraph 76 of the Complaint.

      77.     Defendants provided copies of IMDG’s agreements with the Lenders

to the Interim Board immediately upon request. Defendants deny the remaining

allegations stated in Paragraph 77 of the Complaint.

      78.     Defendants admit that Defendant Weddle and the Lenders flew to

Montana on January 30, 3023 and that Defendant Weddle drove them to and from

the Fort Belknap Reservation on January 31, 2023.

      79.     Defendants admit that Defendant Weddle drove representatives of the

Lenders back to Billings, Montana, following their meeting with the Council.

Defendants deny the remaining allegations stated in Paragraph 79 of the

Complaint.

      80.     The Lenders’ February 3, 2023, letter speaks for itself, and is attached

as Exhibit 3. Defendants admit the Lenders requested a certification that the

appointment of the Interim Board complied with Tribal law and IMDG




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organizational documents. Defendants deny the remainder of the allegations in

Paragraph 80 of the Complaint.

      81.    The Lenders’ February 3, 2023, letter speaks for itself. Defendants

lack sufficient information to admit or deny whether IMDG has continued to refuse

to comply with the requests made by the Lenders after February 10, 2023.

Defendants deny the remaining allegations stated in Paragraph 81 of the

Complaint.

      82.    Defendants admit Plaintiff LeValdo terminated their representation of

IMDG by letter on February 10, 2023. Defendants lack sufficient information to

admit or deny allegations regarding information obtained by the Interim Board

after February 10, 2023. Defendants deny the remainder of the allegations in

Paragraph 82 of the Complaint.

      83.    Defendants admit that Defendant Weddle communicated with the

Lenders’ counsel and stated that her legal opinions were no longer in effect as they

were based on a set of facts that were no longer correct. Defendants deny the

remaining allegations stated in Paragraph 83 of the Complaint.

      84.    Defendants deny the allegations stated in Paragraph 84 of the

Complaint.




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          Defendant Weddle did not attempt to improperly transfer IMDG’s
       assets to the Rosebud Sioux Tribe; at the time options were considered,
       the Lenders had already seized the Collateral, including control of the
        lending business bank accounts and the associated commercial paper.

      85.    Defendants deny the allegations stated in Paragraph 85 of the

Complaint.

      86.    Defendants deny the allegations stated in Paragraph 86 of the

Complaint.

      87.    Defendants deny the allegations stated in Paragraph 87 of the

Complaint.

      88.    Defendants deny the allegations stated in Paragraph 88 of the

Complaint.

      89.    Defendants admit Defendant Weddle was legal counsel for IMDG as

of January 24, 2023. Defendants deny the remainder of the allegations in

Paragraph 89.

      90.    Defendants admit that the potential temporary transfer of certain

IMDG assets outside of the collateral was only discussed after the Lenders

declared an Event of Default and had seized the IMDG collateral. Defendants deny

the remaining allegations stated in Paragraph 90 of the Complaint.

      91.    Defendants admit no transfer of any IMDG assets to the Rosebud

Sioux Tribe ever occurred. Defendants deny the remaining allegations stated in

Paragraph 91 of the Complaint.


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      92.     Defendants admit that Tracy “Ching” King and Christopher “Smiley”

Guardipee were the two members of the “ad hoc executive committee” previously

established by IMDG in 2018 to ensure operational IMDG’s operational stability in

the event the IMDG Board was unable to achieve a quorum. Defendants deny the

remaining allegations stated in Paragraph 92 of the Complaint.

      93.     Defendants admit that IMDG established an ad hoc executive

committee in 2018. Defendants deny the remaining allegations stated in Paragraph

93 of the Complaint.

      94.     Defendants deny the allegations stated in Paragraph 94 of the

Complaint.

      95.     Defendants deny the allegations stated in Paragraph 95 of the

Complaint.

            Defendants have not engaged in improper billing practices.

      96.     Defendants deny the allegations stated in Paragraph 96 of the

Complaint.

      97.     Defendants admit IMDG paid Defendants a total of $2,850,000 for

legal services rendered during 2022 and admit that this amount reflected payments

for work completed by Defendants in previous years that was outstanding.

Defendants deny the remaining allegations stated in Paragraph 97 of the

Complaint.



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      98.    Defendants deny the allegations stated in Paragraph 98 of the

Complaint.

      99.    Defendants deny the allegations stated in Paragraph 99 of the

Complaint.

      100. Defendants deny the allegations stated in Paragraph 100 of the

Complaint.

      101. Defendants deny the allegations stated in Paragraph 101 of the

Complaint.

      102. Defendants deny the allegations stated in Paragraph 102 of the

Complaint.

      103. Defendants deny the allegations stated in Paragraph 103 of the

Complaint.

      104. Defendants deny the allegations stated in Paragraph 104 of the

Complaint.

    V.       FACTS COMMON TO INDIVIDUAL PLAINTIFF JEFFREY
                    STIFFARM’S CAUSES OF ACTION

      105. Defendants reassert each of the preceding responses to the allegations

in the Complaint.

      106. Defendants deny that the Council voted to appoint the Interim Board

on January 19, 2023. Defendants lack sufficient information to admit or deny the

remaining allegations stated in Paragraph 106 of the Complaint.


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      107. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 107 of the Complaint.

      108. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 108 of the Complaint.

      109. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 109 of the Complaint.

      110. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 110 of the Complaint.

      111. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 111 of the Complaint.

      112. Defendants deny the allegations stated in Paragraph 112 of the

Complaint.

      113. Defendants deny the allegations stated in Paragraph 113 of the

Complaint.

      VI.    FACTS COMMON TO INDIVIDUAL PLAINTIFF GENO
                   LEVALDO’S CAUSES OF ACTION

      114. Defendants reassert each of the preceding responses to the allegations

in the Complaint.

      115. Defendants deny that the Council voted to appoint the Interim Board

on January 19, 2023. Defendants lack sufficient information to admit or deny the

remaining allegations stated in Paragraph 115 of the Complaint.


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      116. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 116 of the Complaint.

      117. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 117 of the Complaint.

      118. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 118 of the Complaint.

      119. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 119 of the Complaint.

      120. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 120 of the Complaint.

      121. Defendants deny the allegations stated in Paragraph 121 of the

Complaint.

      122. Defendants deny the allegations stated in Paragraph 122 of the

Complaint.

      123. Defendants deny the allegations stated in Paragraph 123 of the

Complaint.

      124. Defendants deny the allegations stated in Paragraph 124 of the

Complaint.




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      VII. FACTS COMMON TO INDIVIDUAL PLAINTIFF GENO
                 LEVALDO’S CAUSES OF ACTION

      125. Defendants reassert each of the preceding responses to the allegations

in the Complaint.

      126. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 126 of the Complaint.

      127. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 127 of the Complaint.

      128. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 128 of the Complaint.

      129. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 129 of the Complaint.

      130. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 130 of the Complaint.

      131. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 131 of the Complaint.

      132. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 132 of the Complaint.

      133. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 133 of the Complaint.




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      134. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 134 of the Complaint.

      135. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 135 of the Complaint.

      136. Defendants admit that Mr. Brockie advised Plaintiff Azure and other

Council members that their actions could lead to an Event of Default and IMDG

employees could lose their jobs, among other consequences. Defendants deny the

remaining allegations stated in Paragraph 136 of the Complaint.

      137. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 137 of the Complaint.

      138. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 138 of the Complaint.

      139. Defendants deny the allegations stated in Paragraph 139 of the

Complaint.

      140. Defendants deny the allegations stated in Paragraph 140 of the

Complaint.

      141. Defendants deny the allegations stated in Paragraph 141 of the

Complaint.

      142. Defendants deny the allegations stated in Paragraph 142 of the

Complaint.



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 VIII. FACTS COMMON TO INDIVIDUAL PLAINTIFF BRIAN WING’S
                    CAUSES OF ACTION

      143. Defendants reassert each of the preceding responses to the allegations

in the Complaint.

      144. Defendants deny that the Council replaced the Prior Board on January

19, 2023. On information and belief, Defendants admit the remainder of the

allegations stated in Paragraph 144 of the Complaint.

      145. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 145 of the Complaint.

      146. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 146 of the Complaint.

      147. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 147 of the Complaint.

      148. Defendants deny the allegations stated in Paragraph 148 of the

Complaint.

      149. Defendants deny the allegations stated in Paragraph 149 of the

Complaint.

      150. Defendants deny the allegations stated in Paragraph 150 of the

Complaint.

      151. Defendants deny the allegations stated in Paragraph 151 of the

Complaint.


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      152. Defendants deny the allegations stated in Paragraph 152 of the

Complaint.

      153. Defendants deny the allegations stated in Paragraph 153 of the

Complaint.

      154. Defendants deny the allegations stated in Paragraph 154 of the

Complaint.

      155. Defendants deny the allegations stated in Paragraph 155 of the

Complaint.

IX.    FACTS COMMON TO INDIVIDUAL PLAINTIFF CURTIS HORN’S
                    CAUSES OF ACTION
      156. Defendants reassert each of the preceding responses to the allegations

in the Complaint.

      157. Defendants deny the Council voted to appoint the Interim Board on

January 19, 2023. On information and belief, Defendants admit the remaining

allegations of Paragraph 157 of the Complaint.

      158. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 158 of the Complaint.

      159. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 159 of the Complaint.

      160. Defendants lack sufficient information to admit or deny the

allegations stated in Paragraph 160 of the Complaint.


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      161. Defendants deny the allegations stated in Paragraph 161 of the

Complaint.

      162. Defendants admit that Defendant Weddle attended meetings of the

Interim Board by Zoom. Defendants admit that the Lenders informed the Interim

Board that seizure of IMDG assets was a potential consequence of the Event of

Default. Defendants deny the remaining allegations stated in Paragraph 162 of the

Complaint.

      163. Defendants deny the allegations stated in Paragraph 163 of the

Complaint.

      164. Defendants deny the allegations stated in Paragraph 164 of the

Complaint.

      165. Defendants deny the allegations stated in Paragraph 165 of the

Complaint.

      166. Defendants deny the allegations stated in Paragraph 166 of the

Complaint.

                         X.    CLAIMS FOR RELIEF

                        FIRST CLAIM FOR RELIEF:

  Tortious Interference with Business Relationship or Prospective Economic
          Advantage (Against Both Defendants by Plaintiff IMDG)

      167. Defendants reassert each of the preceding responses to the allegations

in the Complaint.


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      168. Defendants deny the allegations stated in Paragraph 168 of the

Complaint.

      169. Defendants deny the allegations stated in Paragraph 169 of the

Complaint.

      170. Defendants deny the allegations stated in Paragraph 170 of the

Complaint.

      171. Defendants deny the allegations stated in Paragraph 171 of the

Complaint.

      172. Defendants deny the allegations stated in Paragraph 172 of the

Complaint.

      173. Defendants deny the allegations stated in Paragraph 173 of the

Complaint.

                       SECOND CLAIM FOR RELIEF:

    Professional Negligence (Against Both Defendants by Plaintiff IMDG)

      174. Defendants reassert each of the preceding responses to the allegations

in the Complaint.

      175. Defendants admit that they had those duties imposed by law and

contract. Defendants deny that those duties are accurately stated in Paragraph 175

and specifically deny that they breached those duties.




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      176. Defendants deny the allegations stated in Paragraph 176 of the

Complaint.

      177. Defendants deny the allegations stated in Paragraph 177 of the

Complaint.

      178. Defendants deny the allegations stated in Paragraph 178 of the

Complaint.

      179. Defendants deny the allegations stated in Paragraph 179 of the

Complaint.

THIRD CLAIM FOR RELIEF (ALTERNATIVE TO SECOND CLAIM FOR
                         RELIEF):
   Breach of Fiduciary Duty (Against Both Defendants by Plaintiff IMDG)

      180. Defendants reassert each of the preceding responses to the allegations

in the Complaint.

      181. Defendants deny the allegations stated in Paragraph 181 of the

Complaint.

      182. Defendants deny the allegations stated in Paragraph 182 of the

Complaint.

      183. Defendants deny the allegations stated in Paragraph 183 of the

Complaint.

      184. Defendants deny the allegations stated in Paragraph 184 of the

Complaint.


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      185. Defendants deny the allegations stated in Paragraph 185 of the

Complaint.

      186. Defendants deny the allegations stated in Paragraph 186 of the

Complaint.

      187. Defendants deny the allegations stated in Paragraph 187 of the

Complaint.

      188. Defendants deny the allegations stated in Paragraph 188 of the

Complaint.

      189. Defendants deny the allegations stated in Paragraph 189 of the

Complaint.

                      FOURTH CLAIM FOR RELIEF:

    Intentional Infliction of Emotion Distress (Against Both Defendants by
                              Individual Plaintiffs)
      190. Defendants reassert each of the preceding responses to the allegations

in the Complaint.

      191. Defendants deny the allegations stated in Paragraph 191 of the

Complaint.

      192. Defendants deny the allegations stated in Paragraph 192 of the

Complaint.

      193. Defendants deny the allegations stated in Paragraph 193 of the

Complaint.


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      194. Defendants deny the allegations stated in Paragraph 194 of the

Complaint.

      195. Defendants deny the allegations stated in Paragraph 195 of the

Complaint.

      196. Defendants deny the allegations stated in Paragraph 196 of the

Complaint.

      197. Defendants deny the allegations stated in Paragraph 197 of the

Complaint.

      198. Defendants deny the allegations stated in Paragraph 198 of the

Complaint.

                        FIFTH CLAIM FOR RELIEF:

   Negligent Infliction of Emotional Distress (Against Both Defendants by
                            Individual Plaintiffs)
      199. Defendants reassert each of the preceding responses to the allegations

in the Complaint.

      200. Defendants deny the allegations stated in Paragraph 200 of the

Complaint.

      201. Defendants deny the allegations stated in Paragraph 201 of the

Complaint.

      202. Defendants deny the allegations stated in Paragraph 202 of the

Complaint.


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      203. Defendants deny the allegations stated in Paragraph 203 of the

Complaint.

      204. Defendants deny the allegations stated in Paragraph 204 of the

Complaint.

      205. Defendants deny the allegations stated in Paragraph 205 of the

Complaint.

      206. Defendants deny the allegations stated in Paragraph 206 of the

Complaint.

      207. Defendants deny the allegations stated in Paragraph 207 of the

Complaint.

      208. Defendants deny the allegations stated in Paragraph 208 of the

Complaint.

                        SIXTH CLAIM FOR RELIEF:

          Civil Conspiracy (Against All Defendants by All Plaintiffs)

      209. Defendants reassert each of the preceding responses to the allegations

in the Complaint.

      210. Defendants deny the allegations stated in Paragraph 210 of the

Complaint.

      211. Defendants deny the allegations stated in Paragraph 211 of the

Complaint.



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       212. Defendants deny the allegations stated in Paragraph 212 of the

Complaint.

       213. Defendants deny the allegations stated in Paragraph 213 of the

Complaint.

       214. Defendants deny the allegations stated in Paragraph 214 of the

Complaint.

                                GENERAL DENIAL

       Defendants deny all allegations stated in the Complaint not specifically

admitted.

                           AFFIRMATIVE DEFENSES
       Subject to discovery which may reveal additional affirmative defenses,

Defendants assert the following affirmative defenses:

       1.    This Court may ultimately lack subject matter jurisdiction over the

claims asserted in this lawsuit based on lack of standing or justiciability concerns,

including the political question doctrine.

       2.    As to each cause of action alleged in the Complaint, Plaintiffs fail to

state a claim upon which relief can be granted.

       3.    Plaintiffs have failed to allege an injury sufficient to state a claim for

intentional infliction of emotional distress or negligent infliction of emotional

distress.



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       4.     Plaintiffs’ alleged damages, if any, are the result of the actions of the

Council.

       5.     Without admitting liability, Defendants affirmatively allege that the

Council, or other parties and/or third parties not joined in this action were legally

responsible or otherwise at fault, in whole or in part, for the damages alleged by

Plaintiffs.

       6.     The Council’s actions were an independent, intervening cause of

Plaintiffs’ alleged damages. Defendants’ conduct was neither the cause-in-fact of

Plaintiffs’ alleged injuries, nor the proximate cause of Plaintiffs’ alleged injuries.

Fisher v. Swift Transp. Co., 2008 MT 105, ¶¶ 38–39, 342 Mont. 335, 181 P.3d

601.

       7.     The Council’s actions were an intervening superseding cause of

Plaintiffs’ alleged damages. Faulconbridge v. State, 2006 MT 198, ¶ 81, 333 Mont.

186, 142 P.3d 777.

       8.     Plaintiffs’ damages, if any, were caused by unforeseeable, intervening

and independent factors unrelated to the actions of Defendants.

       9.     Plaintiffs’ damages, if any, are barred entirely or reduced by their

failure to mitigate.




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      10.     Plaintiffs’ damages, if any, were caused by its own actions or

omissions or the actions or omissions of persons or entities over whom Defendants

did not have control.

      11.     Plaintiffs’ claims are barred, in whole or in part, by statutes of

limitation or other time-based defenses.

      12.     Plaintiffs’ damages, if any, must be reduced in whole or in part by

their own comparative fault.

      13.     Plaintiffs are estopped from pursuing the relief sought in the

Complaint by reason of their own action(s), inaction(s), course of conduct, or by

the actions, agreement, or course of conduct of their agents.

      14.     For any damages Plaintiff IMDG may recover for the claims alleged

in the Complaint, Defendants are entitled to a set off.

      15.     For any damages Plaintiff IMDG may recover for the claims alleged

in the Complaint, Defendants are entitled to recoupment.

      16.     Plaintiffs’ claims are barred by the doctrine of unclean hands.

      17.     Plaintiffs fail to state a claim for punitive damages.

      18.     Plaintiffs’ request for punitive damages is barred because this matter

arises from a contract or breach of contract and Defendants are not guilty of actual

fraud or actual malice. Mont. Code Ann. §§ 27–1–220(2)(a); Mont. Code Ann.

§ 27–1–221.



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       19.   Any award of punitive damages in this matter would violate

Defendants’ rights as established by the United States Constitution, including but

not limited to due process and equal protection under the law, as well as the

applicable provisions of the Montana Constitution, and would be improper under

the common law and public policies of the State of Montana.

       20.   Defendants hereby provide notice that they intend to rely upon such

other affirmative defenses as they may become available or apparent during the

course of discovery or other proceedings in this action, and reserves the right to

amend this list to assert other applicable defenses that Defendants may be entitled

to assert.

                               RELIEF REQUESTED

       NOW THEREFORE, Defendants respectfully request that:

       A.     Plaintiffs take nothing by way of their Complaint;

       B.     The Court dismiss the claims asserted in Plaintiffs’ Complaint with

prejudice;

       C.     The Court enter judgment in favor of Defendants and against

Plaintiffs on all of Plaintiffs’ claims;

       D.     The Court award Defendants their reasonable attorney’s fees and

costs; and




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      E.    That Defendants be granted such other and further relief as this Court

deems just and proper.

      Dated this 6th day of November, 2023.

                                     CROWLEY FLECK PLLP


                                     By /s/ Neil G. Westesen
                                     Neil G. Westesen
                                     Griffin B. Stevens
                                     E. Lars Phillips
                                     P.O. Box 797
                                     Helena, MT 59624-0797
                                     Attorneys for Defendants




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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 6th day of November, 2023, a true and correct
copy of the foregoing was delivered by the following means to the following:
[ ] U.S. Mail           Terryl T. Matt, Esq.
[ ] FedEx               MATT LAW OFFICE, PLLC
[ ] Hand-Delivery       310 E Main Street
[ ] E-Mail              Cut Bank, MT 59427
[x] ECF                 terrylm@mattlawoffice.com

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                                             /s/ Neil G. Westesen
                                             Neil G. Westesen




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